      Case 2:23-cv-09188-JMA-LGD Document 10-1 Filed 12/20/23 Page 1 of 1 PageID #: 56

AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District of New York

NEUROLOGICAL SURGERY PRACTICE OF LONG                                 )
             ISLAND, PLLC                                             )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )      Civil Action No.   2:23-cv-09188-JMA-LGD
                                 V.
                                                                      )
EMBLEMHEALTH, INC.,
                                                                      )
GROUP HEALTH INCORPORATED, and                                        )
HEALTH INSURANCE PLAN OF GREATER NEW YORK                             )
                                                                      )
                           Defendant(s)                               )

                                                  SUMMONS IN A CIVIL ACTION
                                            GROUP HEALTH INCORPORATED
To: (Defendant's name and address)          55 Water Street
                                           New York, New York 10041




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                            Harris Beach, PLLC
                                            333 Earle Ovington Blvd.
                                            Suite 901
                                            Uniondale, New York 11553
                                            516-880-8484
                                           Attn: Roy W. Breitenbach, Esq.

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT


Date:     12/20/2023
                                                                                          Signature ofClerk or Deputy Clerk
